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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
     Plaintiff,

v.                                                CR NO. 05-1849 JH

CATHY FITZGERALD,
     Defendant.

                  UNOPPOSED MOTION TO CONTINUE SENTENCING

        COMES NOW Defendant , Cathy Fitzgerald, through counsel, and respectfully requests

that the sentencing in this case, currently set on April 26, 2007, before the Honorable Judith C.

Herrera be continued, on the following grounds:

1.      Defendant pled April 18, 2006.

2.      Defendant’s Sentencing is scheduled for April 26, 2007.

3.      Defense counsel received the pre-sentence report on April 23, 2007. The defense requests

more time to review the pre-sentence report.

2.      The Defendant is in custody at La Posada Half Way House and has been fully compliant

        with conditions of release.

3.      The Assistant United States Attorney, James Braun, does not oppose.

                                          Respectfully Submitted,

                                          _______________________________
                                          Cliff McIntyre, Esq.
                                          1500 Mountain RD NW
                                          Albuquerque, NM 87104
                                          505-243-2900 / fax 243-6339


I certify that a true and accurate copy of the foregoing was given to all counsel and/or parties of
record this ______ day of April, 2007.

__________________________________
Cliff McIntyre, Esq.
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